    Case 14-28775-CMG Doc 93 Filed 09/23/15 Entered 09/23/15 11:09:14                            Desc Main
                            Document
UNITED STATES BANKRUPTCY COURT            Page 1 of 2
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)




                                                                          Order Filed on September 23, 2015
                                                                                       by Clerk
                                                                                U.S. Bankruptcy Court
                                                                                District of New Jersey




In Re:                                                   Case No.:       ____________________
                                                                            14-28775-CMG

Ezra Beyman                                              Hearing Date: ____________________
                                                                              9/22/15

                                                         Judge:          _____________________
                                                                           Christine M. Gravelle

                                                         Chapter:        _____________________
                                                                                   7




                Recommended Local Form:            ✔
                                                   ”    Followed         ”    Modified




                                             ORDER OF DISMISSAL

         The relief set forth on the following page is hereby ORDERED.




  DATED: September 23, 2015
      Case 14-28775-CMG           Doc 93     Filed 09/23/15 Entered 09/23/15 11:09:14                 Desc Main
                                            Document      Page 2 of 2




                Upon the Stipulation Between Ezra Beyman and BACM 2006-4 Inverness Apartments, LLC,
         Comm 2006-C8 Coveside Lane, LLC and GECMC 2006-C1 Carrington Oaks, LLC,
        filed by Raymond T. Lyons on behalf of Ezra Beyman on 9/8/15 and for good cause shown, it is

        ORDERED that this case is dismissed and any discharge that was granted is vacated. All
outstanding fees to the Court are due and owing and must be paid within 5 days of the date of
this Order.

        Pursuant to Fed. R. Bankr. P. 2002(f), the Clerk shall notify all parties in interest of the
entry of this order.




                                                                                            Rev. 7/1/04; jml

                                                          2
